                     Case 2:17-mj-00172-BAT Document 4 Filed 05/02/17 Page 1 of 2



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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                                  Plaintiff,                CASE NO. 17-172

10              v.                                            DETENTION ORDER

11   ROMAN SLEZNEV,

12                                  Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14   there are no conditions which the defendant can meet which would reasonably assure the

15   defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is currently serving a 324 month federal sentence.

18          It is therefore ORDERED:

19          (1)         Defendant shall be detained pending trial and committed to the custody of the

20   Attorney General for confinement in a correctional facility separate, to the extent practicable,

21   from persons awaiting or serving sentences, or being held in custody pending appeal;

22          (2)         Defendant shall be afforded reasonable opportunity for private consultation with

23   counsel;




     DETENTION ORDER - 1
                  Case 2:17-mj-00172-BAT Document 4 Filed 05/02/17 Page 2 of 2



 1          (3)      On order of a court of the United States or on request of an attorney for the

 2   Government, the person in charge of the correctional facility in which Defendant is confined

 3   shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 4   connection with a court proceeding; and

 5          (4)      The Clerk shall provide copies of this order to all counsel, the United States

 6   Marshal, and to the United States Probation and Pretrial Services Officer.

 7          DATED this 2nd day of May, 2017.

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 9                                                                 A
                                                           BRIAN A. TSUCHIDA
10                                                         United States Magistrate Judge

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     DETENTION ORDER - 2
